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$25HY6XPPRQVLQD&LYLO$FWLRQ


                                      81,7(' 67$7(6 ',675,&7 &2857
                                                                    IRUWKH
                                                         &HQWUDO 'LVWULFW RI &DOLIRUQLD
                                                     BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

 .$7+< /,5$ LQGLYLGXDOO\ DQG RQ EHKDOI RI DOO RWKHUV                  
                VLPLODUO\ VLWXDWHG                                    
                                                                       
                                                                       
                            Plaintiff(s)                               
                                                                       
                                 Y                                             &LYLO$FWLRQ1R FY AG (JDEx)
                                                                       
   %803 %2;(6 ,1& DQ ,OOLQRLV FRUSRUDWLRQ DQG                      
           '2(6  ±  LQFOXVLYH                                     
                                                                       
                                                                       
                           Defendant(s)                                

                                                     6800216,1$&,9,/$&7,21

7R (Defendant’s name and address) %XPS %R[HV ,QF
                                           FR 1LFROH ' 0H\HU
                                            0DLQ 6W 
                                           3HRULD ,/ 




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

         :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RXQRWFRXQWLQJWKHGD\\RXUHFHLYHGLW²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3DRU²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH 3DFLILF 7ULDO $WWRUQH\V
                                           $ 3URIHVVLRQDO &RUSRUDWLRQ
                                           6FRWW - )HUUHOO %DU 1R 
                                           VIHUUHOO#SDFLILFWULDODWWRUQH\VFRP
                                            1HZSRUW 3ODFH 6WH 
                                           1HZSRUW %HDFK &$ 

       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                                  CLERK OF COURT


'DWH March 19, 2018
                                                                                            Signature of Clerk or Deputy Clerk
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$25HY6XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R FY

                                                     3522)2)6(59,&(
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ (date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                 RQ (date)                             RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ (date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                       ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                 RQ (date)                             RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU (specify):
                                                                                                                                            


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                    


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
